          Case: 5:18-cv-00658-DCR-MAS Doc #: 1-2 Filed: 12/31/18 Page: 1 of 13 - Page ID#: 6




                                                                                                                        A3M / ALL
                                                                                                     Transmittal Number: 19081787
Notice of Service of Process                                                                            Date Processed: 12/12/2018

Primary Contact:           Pamela Beyer
                           The Travelers Companies, Inc.
                           385 Washington Street, 9275-LC12L
                           Saint Paul, MN 55102

Entity:                                       The Standard Fire Insurance Company
                                              Entity ID Number 2317464
Entity Served:                                The Standard Fire Insurance Company d/b/a Travelers
Title of Action:                              Laura N. Woods vs. The Standard Fire Insurance Company d/b/a Travelers
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Contract
Court/Agency:                                 Fayette County Circuit Court, KY
Case/Reference No:                            18-CI-4199
Jurisdiction Served:                          Kentucky
Date Served on CSC:                           12/11/2018
Answer or Appearance Due:                     20 Days
Originally Served On:                         CSC
How Served:                                   Certified Mail
Sender Information:                           Stephen P. Stoltz
                                              859-252-9000

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
   Case: 5:18-cv-00658-DCR-MAS Doc #: 1-2 Filed: 12/31/18 Page: 2 of 13 - Page ID#: 7


 AOC-105                Doc. Code: CI                     ~~,~, ,~                      Case No. 18-CI-
 Rev.1-07                                               a~_.~'  '~ ~•`'>
 Page 1 of 1                                                   `'" -                    Court     ~ Circuit ~ District
 Commonwealth of Kentucky                                     "~~ ~
                                                         '4j ,Iv J1~~,4Y..
                                                         ,

 Court of Justice www.courts.ky.gov                                                     County   Fayette
 CR 4.02; CR Official Form 1                         CIVIL SUMMONS

                                                                                                             PLAINTIFF

      LAURA                                N.                      WOODS




VS.
                                                                                                             DEFENDANT
      THE STANDARD FIRE INSURANCE
      COMPANY D/B/A TRAVELERS




Service of Process Agent for Defendant:
Corporate Senrice Company
421 West Main Street


Frankfort,                                                                       Kentucky                 40601

THE COMMONWEALTH OF KENTUCKY
TO THE ABOVE-NAMED DEFENDANT(S):

         You are hereby notified a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney on
your behalf within 20 days following the day this paper is delivered to you, judgment by default may be taken against you
for the relief demanded in the attached Complaint.

        The name(s) and address(es) of the party or parties dema ~ng relief against you are shown on the document
delivered to you with this Summons.
                                                                     NCEP.I 1,ICGS, ERK
Date:         Q~O
              _   ~ 2~18           2                                f.       _                                       Clerk
                                                         By: ,.              ,ti) , N                                 D.C.
                                                                  120 N. LIPAESTONE STREE
                                                                  LEXINGTON, KENTUCKY 40507


                                                    Proof of Service
      This Summons was served by delivering a true copy and the Complaint (or other initiating document) to:


      this      day of                      2
                                                                 Served by:
                                                                                                                  Title
Case: 5:18-cv-00658-DCR-MAS Doc #: 1-2 Filed: 12/31/18 Page: 3 of 13 - Page ID#: 8



                                                                                 r't"`""     CLERK
                                                                      ATTEST, VINCENT RIGGS,
                                 FAYETTE CIRCUIT COURT                      NOV 2 9 2018
                                     C VIL BRANCH
                                           DIVISION                   1 FAYETTE CIRCUI ~C `R~'
                                       ~
LAURA N. WOODS                                                                    PLAINTIFF

V.                                        COMPLAINT                     No.18-CI-~- -I~~

THE STANDARD FIRE INSURANCE
COMPANY D/B/A TRAVELERS                                                         DEFENDANT
     Serve Registered Agent:

     Corporate Service Company
     421 West Main Street
     Frankfort, Kentucky 40601



        Comes now the Plaintiff Laura N. Woods ("Woods"), by counsel, and for her Complaint

in the above-styled action, states as follows:

                                 Parties, Jurisdiction, and Venue

        1.     At all times relevant to this action, Woods was a resident of Kentucky, and she

currently resides in Lexington, Fayette County, Kentucky.

        2.     At all times relevant to this action, Defendant The Standard Fire Insurance

Company d/b/a Travelers ("Travelers"), was a corporation duly organized and incorporated in

the state of Connecticut, and duly organized and licensed to do business in the Commonwealth

of Kentucky, and transacting business in the Commonwealth of Kentucky. Its registered agent

for service of process in Kentucky is Corporation Service Company, 421 West Main Street

Frankfort, Kentucky 40601.

        3.     Jurisdiction and venue are proper in this Court because Woods resides in Fayette

County, Kentucky; Travelers is a corporation; the insurance policy at issue has been and was to
Case: 5:18-cv-00658-DCR-MAS Doc #: 1-2 Filed: 12/31/18 Page: 4 of 13 - Page ID#: 9




be performed in Fayette County, Kentucky; and the amount in controversy exceeds the minimum

jurisdictional amount.

                                     Factual Background

       4.      Woods incorporates all allegations asserted in the preceding paragraphs.

       5.      On December 18, 2016 at approximately 9:44 a.m., Woods was operating a 1998

Toyota Tacoma (the "Tacoma"), while traveling East on Military Pike in Woodford County,

Kentucky.

       6.      At that same time, Joshua Eaves ("Eaves") was operating a 2003 Honda Accord

(the "Accord") while traveling West on Military Pike, Woodford County, Kentucky.

       7.      Eaves operated the Accord in such a careless, reckless, and otherwise negligent

manner so as to cause the Accord to cross the center lines of Military Pike and collide with

Woods's Tacoma head on.
                                                                                          ;
       8.     Eaves's negligence, which is not contested, was the sole and/or substantial cause

of the collision that occurred on December 18, 2016 between Eaves and Woods.

       9.     At the time of the collision, Eaves was insured by an automobile liability policy

with USAA General Indemnity Company ("USAA") under which the limits of liability coverage

were $50,000 per person/$100,000 per accident.

       10.     At the time of the collision, the Tacoma was insured under a policy of insurance

with Travelers, Policy No. 996057891-203-1 (the "Policy"), which provided, among other

coverages, underinsured motorist insurance ("UIM") with limits of $100,000 per

person/$300,000 per accident.

       11.    As a result of Eaves's negligence on December 18, 2016, Woods suffered bodily

injuries, both temporary and permanent; incurred medical expenses, past and future; suffered lost



                                                 2
Case: 5:18-cv-00658-DCR-MAS Doc #: 1-2 Filed: 12/31/18 Page: 5 of 13 - Page ID#: 10




 wages at work; sustained, both temporary and permanent, impairment to her ability to labor and

 earn money; and suffered great pain and suffering, both mental and physical, past and future, all

 to her damage and detriment.

        12.     Woods's damages from the subject collision exceed, by more than $100,000, the

 amount of Eaves's liability insurance limits with USAA, thereby making Eaves an "underinsured

 motorist" within the meaning of KRS 304.39-320 at the time of the subject collision.

        13.     At the time of the subject collision, Woods was an"insured" under the Policy

 issued by Travelers for purposes of UIM coverage.

        14.     It is uncontested Woods's injuries and damages from the subject collision with

 Eaves far exceed $150,000, the combined per person limits of Eaves's USAA liability policy

 ($50,000) and the per person UIM limit of the Policy ($100,000).

        15.     On or about September 14, 2018, Woods demanded that Travelers pay her the

 Policy's UIM per person limits of $100,000 for the damages she sustained in the subject motor

 vehicle collision.

        16.     On or about October 5, 2018, Travelers notified Woods, by and through its claims

 adjuster, she was not entitled to receive the full amount of the Policy's UIM per person coverage

 limits of $100,000.

        17.     On or about October 5, 2018, Travelers, by and through its claim adjuster,

 informed Woods that only $39,000 of the Policy's $100,000 UIM per person limits would be

 paid to Woods because of setoff provisions in the Policy, which represented a difference of

 $61,000 in UIM insurance benefits payable to Woods. This number represents the $100,000

 limits, less credits for Eaves's bodily injury liability limits ($50,000), med pay ($1,000), and PIP

 ($10,000).



                                                  9
Case: 5:18-cv-00658-DCR-MAS Doc #: 1-2 Filed: 12/31/18 Page: 6 of 13 - Page ID#: 11




           18.   The PIP benefits paid or payable under the Kentucky's Motor Vehicle

 Reparations Act, KRS Chapter 304.39 (the "MVRA") are no-fault benefits; they are paid

 regardless of who is responsible for the subject motor vehicle collision.

           19.   The Med Pay benefits paid or payable under the Policy are paid without regard to

 liability; they are paid regardless of who is responsible for the subject motor vehicle collision.

           20.   No express condition, exclusion, term, or language in the Policy permits the setoff

 (or reimbursement) of PIP and Med Pay benefits paid or payable under the Policy from the limits

 of the UIM benefits available under the Policy.

           21.   PIP and Med Pay benefits were paid or payable by Travelers to Woods or to her

 medical providers as a result of the subject collision.

           22.   PIP and Med Pay benefits were not paid or payable to Woods or to her medical

 providers "by or on behalf of persons or organizations who may be legally responsible," within

 the meaning of paragraph C.1. on page UIM-2 of the Policy.

           23.   PIP and Med Pay benefits were not paid or payable to Woods or her medical

 providers "by or on behalf of persons or organizations who may be legally responsible," within

 the meaning of the Policy.

           24.   Travelers lacked (and continues to lack) a reasonable basis for the position it has

 taken regarding the amount of available UIM benefits payable to Woods under the Policy.

           25.   Travelers knew or acted with reckless disregard as to whether any reasonable

 basis existed with regard to denying Woods the full amount of UIM coverage available under the

 Policy.




                                                   L,
Case: 5:18-cv-00658-DCR-MAS Doc #: 1-2 Filed: 12/31/18 Page: 7 of 13 - Page ID#: 12




         26.     Woods has suffered and will continue to suffer inconvenience and harm from

 Travelers's wrongful attempt to deny Woods the full $100,000 policy limits of UIM b lefits

 available under the Policy.

         27.     Woods has lost and will continue to lose income, incur legal fees and expenses,

 and suffer other financial losses as a result of Travelers's wrongful attempt to deny Woods the

 full amount of UIM benefits available under the Policy.

         28.     Travelers has a company-wide policy or stance of attempting to limit the full

 amount of policy UIM benefits payable to its insureds despite knowing it has no reasonable basis

 for doing so.

                                  Count I: Declaration of Rights

         29.     Woods incorporates all allegations asserted in the preceding paragraphs.

         30.     The provision of the Policy on which Travelers relies to limit the amount of UIM

 benefits payable to Woods is unenforceable in the Commonwealth of Kentucky as against public

 policy of this Commonwealth in regard to the nature and purpose of UIM benefits.

         31.     Travelers is not permitted to limit the amount of UIM benefits payable to Woods

 by the amount of PIP benefits paid, as it renders PIP benefits illusory, in violation of the MVRA.

         32.     Travelers is not permitted to limit the amount of UIM benefits payable to Woods

 by the amount of Med Pay benefits paid, as it renders the Med Pay provisions of the Policy

 illusory.

         33.     Accordingly, an actual controversy exists with respect to the rights of Woods

 under the Policy concerning the amount of available UIM benefits payable as a result of the

 subject collision.




                                                  5
Case: 5:18-cv-00658-DCR-MAS Doc #: 1-2 Filed: 12/31/18 Page: 8 of 13 - Page ID#: 13




        34.     Woods, as an insured under the Policy, is entitled to a declaration of rights under

 KRS 418.045.

        35.     The issuance of a declaratory judgment will resolve the controversy between the

 parties related to the amount of UIM benefits payable to Woods under the Policy.

                          Count II: Breach of Contract - UIM Benefits

        36.     Woods incorporates all allegations asserted in the preceding paragraphs.

        37.     Woods's injuries and damages exceed the $50,000 of bodily injury liability limits

 available under Eaves's policy with USAA and the $100,000 UIM limits of the Travelers Policy.

        38.     Travelers is obligated to pay Woods, to the extent of its per person UIM policy

 limits listed in the Declarations Page of the Policy, or $100,000, for Woods's damages and

 injuries that exceed the bodily injury liability limits of Eaves's policy with USAA.

        39.     To date, Travelers has refused to pay the full policy limits of $100,000 for UIM

 benefits owed to Woods and wrongfully claims Travelers is entitled to a setoff in the amo i t of

 $61,000 when determining the amount of UIM benefits payable to Woods.

        40.     The foregoing constitutes a breach of contract by Travelers.

        41.     Woods is entitled to a judgment against Travelers for the full amount of the UIM

 Policy limits of $100;0001isted in the Declarations Page of the Policy.

                           Count III: Violation of PIP Statute/MVRA

        42.     Woods incorporates all allegations asserted in the preceding paragraphs.

        43.     The Policy, which purports to be a Connecticut policy, contains no express

 provision providing PIP coverage for insureds injured in motor vehicle collisions.

        44.     Travelers writes automobile insurance regularly in the Commonwealth of

 Kentucky, is licensed here, and transacts business here.



                                                 no
Case: 5:18-cv-00658-DCR-MAS Doc #: 1-2 Filed: 12/31/18 Page: 9 of 13 - Page ID#: 14




        45.     In January of 2017, Travelers paid a total of $10,000 of PIP benefits to various

 medical providers of Woods for bills relating to the subject collision, as it is required to do under

 the MVRA.

        46.     Travelers now insists on taking a$10,000 credit against the UIM benefits' due

 Woods for the PIP benefits itpaid to her medicalproviders.                                      I

        47.     Pursuant to the MVRA, Travelers is required to seek reimbursement of a.ny PIP

 benefits it paid either from Eaves or from his insurer, USAA, not from Woods.

        48.     The foregoing conduct of Travelers in seeking PIP reimbursement from Woods

 via UIM setoff is a violation of the MVRA.

        49.     Pursuant to KRS 304.39-070 and KRS 304.39-210(2), Woods is entitled to her

 reasonable attorney's fees and costs incurred herein as well as 18% interest.

                                        Count IV: Bad Faith

         50.    Woods incorporates all allegations asserted in the preceding paragraphs.

         51.    Travelers lacked a reasonable basis for denying Woods the full amount of policy

 limits for UIM benefits listed in the Declarations Page of the Policy of $100,000, and acted with

 reckless disregard for whether such a basis existed.

         52.    Travelers has acted and continued to act with ulterior motives by attempting to

 deny Woods the full amount UIM benefits available under the Policy.

         53.    Travelers failed to communicate to Woods a reasonable basis for its UIM

 coverage decision reasonably promptly.

         54.    Travelers has a duty to act in good faith and to deal fairly with Woods.

         55.    The aforesaid conduct of Travelers constitutes bad faith and is a breach of its duty

 to act in good faith and to deal fairly with Woods as provided by common law.



                                                   7
Case: 5:18-cv-00658-DCR-MAS Doc #: 1-2 Filed: 12/31/18 Page: 10 of 13 - Page ID#: 15




         56.    As a direct and proximate result of Travelers's bad faith conduct, Woods has been

 damaged as set forth in this Complaint.

         57.    Travelers has acted towards Woods with malice and/or reckless disregard for her

 rights and property, and/or with gross negligence.

               Count V: Violation of the Unfair Claims Settlement Practices Act

         58.    Woods incorporates all allegations asserted in the preceding paragraphs.

         59.    Travelers has violated the Unfair Claims Settlement Practices Act ("UCSPA") as

 set forth in KRS 304.12-230 and other applicable law, because Travelers has (1) misrepresented

 pertinent facts or insurance policy provisions relating to coverages at issue; (2) failed to

 acknowledge and act reasonably and promptly upon communications with respect to a claim

 arising under the Policy; (3) failed to adopt and implement reasonable standards for the prompt

 investigation of claims arising under insurance policies; (4) refused to pay claims pay claims

 without conducting a reasonable investigation based upon all available information; (5) did not

 attempt in good-faith to effectuate prompt, fair, and equitable settlement of claims for defense

 costs and any associated indemnity costs when such obligation to pay for costs had become

 reasonably clear; (6) compelled Woods to institute litigation to recover amounts due under the

 insurance policy; and (7) failed to promptly provide a reasonable explanation of the basis in the

 insurance policy in relation to the facts an applicable law for denying Woods the full amount of

 policy limits for UIM benefits listed in the Declarations Page of the Policy.

         60.    As a direct and proximate result of the aforesaid unfair, deceptive, illegal, and

  intentional acts of Travelers, Woods has suffered inconvenience and financial damages, all in an

 amount in excess of the jurisdictional limits of this Court.




                                                   ;
Case: 5:18-cv-00658-DCR-MAS Doc #: 1-2 Filed: 12/31/18 Page: 11 of 13 - Page ID#: 16




        61.     Travelers has violated KRS 304.12-235, which entitles Woods to recover

 attorney's fees, costs, and 12% interest on her claims.

                                   Count VI: Punitive Damages

        62.     Woods incorporates all allegations asserted in the preceding paragraphs.

        63.     Travelers has acted towards Woods with malice and/or reckless disregard for her

 rights and property, and/or with gross negligence in breaching its common law duty of good faith

 and its various violations of UCSPA.

        64.     As a result of Travelers' wrongful, illegal, and tortious conduct herein alleged,

 Woods is entitled to recover punitive damages against Travelers in an amount sufficient to

 punish and deter Travelers from the wrongful, illegal and tortious conduct alleged herein.

        WHEREFORE, Laura N. Woods demands judgment against Travelers, as follows:

        A.      A judgment declaring that Travelers cannot reduce the amount of policy limits for

 UIM benefits listed in the Declarations Page of the Policy ($100,000) due Woods for the subject

 collision;

        B.      A judgment against Travelers awarding Woods the full amount of UIM coverage

 under the Policy, $100,000, plus inconvenience, loss of income, financial damages, and any

 other compensatory damages caused by Travelers for violation of the MVRA, common law bad

 faith, the Unfair Claims Settlement Practices Act, and other laws;

         C.     Statutory interest at 18% per annum (or, alternatively, 12% per annum) on all

 compensatory amounts awarded, together with Woods's reasonable attorney's fees and expenses

 incurred;




                                                  6
Case: 5:18-cv-00658-DCR-MAS Doc #: 1-2 Filed: 12/31/18 Page: 12 of 13 - Page ID#: 17




           D.         A judgment against the Travelers for punitive damages in an amount sufficient to

 punish Travelers for and to deter Travelers from the wrongful, illegal and tortious conduct

 alleged herein; and

           E.         A trial by jury on all issues so triable.



                                                                  Respectfully submitted,



                                                                         4'   -
                                                                  Stephen P. Stoltz, Esq.
                                                                  Blake C. Nolan, Esq.
                                                                  GESS MATTINGLY & ATCHISON, P.S.C.
                                                                  201 West Short Street, Suite 102
                                                                  Lexington, Kentucky 40507
                                                                  Telephone: (859) 252-9000
                                                                  Facsimile: (859) 233-4269
                                                                  sstoltz@glnalaw.com
                                                                  bnolan lgmalaw.com
                                                                  Counsel for Plaintiff,
                                                                  Laura N. Woods


 S:\SStoltz\Woods I.&.A\Travelers\Complaint (SPS) 11.20.18.docx




                                                                   10
                        Case: 5:18-cv-00658-DCR-MAS Doc #: 1-2 Filed: 12/31/18 Page: 13 of 13 - Page ID#: 18

          ._—            -      ----                                                                 -                                    - -                                               —


                                                                                   !                                                  :;•         ~~, ~U.S.POSTAGE>)PITNEYBOWES
      7*1.TN OF              CIRCUIT COURT CLERK VINCENT RIGGS
V ~a~~•         y~~~~        FAYETTE.,CIRCUIT 8L DISTRICT COURTS                                                                                                10                  =
                             CIRCUIT COURT CIVIL DIVISION; ROOM C103                                                                                         4~
  ~         "'" °~*          ROBERT F. STEPHENS CIRCUIT COURTHOUSE                 it
                                                                                              941!} 7266 9904 2967 469F~•                                ~
                                                                                                                                                             ZIR 40507
                                                                                                                                                                           ~~07     .62 0
      Rr oF ~Us              120 NoRTx LImIESTONE                                  I                                                                         0000339338 DEC. 07, 2018
                                                                                              RETURN RECEIPT REQUEST ED                                  I
                             L•EXINGTON, KENTUCKY 40507

                                                           —_—
                                                     CORPORATE SERVICE COMPANY
                                                     421 WEST IMIN STREET
                                                     gRANKFORT, KY 40601
                                                      STANDARD FIRE INSURANCE
                                                                                               18—CI-4199



                                                     ...                                                                     :x.

                                             ..            :..t.µ1~'~•':7'^i'w'.'.:.   1 !9              1-111 1i'}li.Jl1:11'117'li i1(.et~~.l~~~~,!llellf~`lij~~l~ti~1(I~i~I'~i'
                                                                                                                                                                                                ~
